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              Case 3:17-cr-00018-K   Document
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                                                      DISTRICT      Page 1 of 1 PageID 499
                                FOR THE NORTHERN DISTRICT OF
                                          DALLAS DIVISION

   UNITED STATES OF AMERICA                                          §
                                                                     §                                   AUG .. I 2017
   vs.                                                               §                      ASE Nb.· 3:17-CR-018-             (10)

   BRITTANY GUIGNARD
                                                                     §
                                                                     §
                                                                                                <;:RK, U.S:R:S~CT COURT
                                                                                                             Deputy
                                                REPORT AND RECOMMENDATION
                                                 CONCERNING PLEA OF GUILTY

            BRITTANY GUIGNARD, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5 1h Cir. 1997),
   has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 10 of the 21 Count
   Indictment, filed on January 10,2017. After cautioning and examining Defendant Brittany Guignard under oath
   concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
   voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
   elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Brittany
   Guignard, be adjudged guilty of Illegal Receipt of a Firearm by a Person Under Indictment, in violation of 18
   USC§ 922(n) and 924(a)(1)(D), and have sentence imposed accordingly. After being found guilty of the offense by
   the district judge.
          /   ..
   ltv"            The defendant is currently in custody and should be ordered to remain in custody.

   0               The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
                   convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
                   community if released.

                   0       The Government does not oppose release.
                   0       The defendant has been compliant with the current conditions of release.
                   0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                           other person or the community if released and should therefore be released under § 3 142(b) or (c).

                   0       The Government opposes release.
                   0       The defendant has not been compliant with the conditions of release.
                   0       Ifthe Court accepts this recommendation, this matter should be set for hearing upon motion of the
                           Government.

   0               The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless ( 1)(a) the Court finds there
                   is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
                   recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
                   shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
                   convincing evidence that the defendant is not likely to flee ()r pose a dan-g         o any other person or the
                   community ifreleased.                                            ·                      '

                   Signed August 1, 2017.

                                                                     PAUL D. STICKNEY
                                                                     UNITED STATES MAGISTRATE JUDGE

                                                                 NOTICE

             Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
   of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
   States District Judge. 28 U.S.C. §636(b)(l)(B).
